Dear Mr. Ward:
Your request for an opinion from this office posed two questions:
1. Is it permissible for a district attorney's office to charge a fee to participants in a pretrial intervention program?
2. May a portion of this fee be remitted to the judicial expense fund or criminal court fund of the parish?
With regard to the first question, it is permissible for a district attorney's office to charge a fee to participants in a pretrial intervention program. However, the fee charged should be for expenses incurred for participation in the program and for administrative costs. Any additional fees charged would be payments for the dismissal of prosecutions. This would be a violation of La. R.S. 42:1116, which states:
No public servant shall use the authority of his office or position, directly or indirectly, in a manner intended to compel or coerce any person or other public servant to provide himself, any other public servant, or other person with anything of economic value. This section shall not be construed to limit that authority authorized by law, statute, ordinance, or legislative rule in carrying out official duties.
In response to the second question, it is permissible to remit a portion of any fees charged in a pre-trial intervention program to the judicial expense fund or the criminal court fund. However, the fees should be remitted only to reimburse the criminal court fund or judicial expense fund for any expenditures made to establish or finance the pretrial intervention program. In summary, it is the opinion of this office that it is permissible for a district attorney's office to charge fees for expenses and administrative costs incurred in a pretrial intervention program as long as the fees cover only operational costs. It is also permissible to remit a portion of the fees charged to the judicial expense or criminal court fund to reimburse that fund for expenditures made to finance the pretrial intervention program.
I hope the foregoing has adequately answered your questions. If our office can be of any further assistance, please do not hesitate to contact us.
Sincerely,
             Richard P. Ieyoub Attorney General
             By: Frederick A. Duhy, Jr. Assistant Attorney General La.Atty. Gen. Op. No. 93-481, 1993 WL 438522
(La.A.G.)
Opinion No. 95-318
August 15, 1995
78 OFFICERS — Dual Officeholding LSA-R.S. 42:62(9); LSA-R.S. 42:63(D)
We conclude a police juror may hold employment with the district attorney's office as either the office administrator or the director of the pre-trial intervention program of the district attorney's office.
Honorable Walter E. May, Jr. District Attorney 500 East Court Avenue Jonesboro, LA 71251